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  EXHIBIT 91
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                SUPREME COURT OF THE STATE OF NEW YORK
                COUNTY OF NEW YORK
                - - - - - - - - - - - - - - - - - - - - -x
                JOSEPH H.· SIMON,
                                             Plaintiff',
                                                                     Index No.
                                                                   14632/1967
               'MARTIN GOODMAN et al,
                                                                     .Q! PARTICULARS
                                             Defendants.




                SIR:
                           Defendants, for their Bill of Particulars pursuant
                to plaintiff's Demand dated ,arch 2, 1967, as modified by the
                Court Order dated October 23~ 1967, state as set forth in the
               . below-numbered paragraphs, in the case of each paragraph the
               · statement being made with respect to the claim statement set
                forth by the ·defendants pursuant to C.P.L.R. R 3014 to which
                the corresp9ndingly numbered paragraph of the Demand apparently
                relates:
                           1.   The names and identities of the individuals,
                companies, or corporations under which defendants Martin Goodman
                a.nd·Jean Goodman (hereinafter referred to as the 11 Goodmans 11 )
                                     '
                were operating when they first published the work "Captain ·
                America", this work being understood to be that more particu-
                larly identified as "Captain America Comics, Volume 2, No. l.,
                Copyright Registration No. B 480415"., on·schedule 1 of the
                information supplied to counsel for the plaintiff with the
                letter from defendants' coun~el of June 12, 1967; are:

                                      Abraham Goodman
                                      Jean Go.adman
                                      Martin Goodman




                                                                   Marvel 001396




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                                        Ma.nvis Publications, Inc.
                                        Newsstand Publications, Inc.
                                         Postal Publications, Inc.
                                        Timely Publications·
                                         Universal Crime Stories, Inc.
                                        Western Fiction Publishing Company, Inc.
                                        Zest Publishing Co.
                If the names and identities of any other such individuals,
                                                  !
                companies or corporations are _uncovered, they will be supplied.

                          2.   The aforesaid work 11·ca.ptain America" was acquired
                -by be~ng drawn and written by and for the Goodmans.           Copy-
                right in the literary property of this work was secured by
                the original publisher thereof by publication thereof with·
                the notice of copyright required by Title 17, United States
                Code, on December 20, 1940, pursuant to 17 u.s.c. §10.             The
                owner of this copyright to the literary property of this work
                is Timely Comics, Inc.       The steps by which. the acquisition was
                made were the discussion between and among the Goodmans and
                those who were working for them about new comic material and
                the. stories and characters to be created, and the writing,
                layout, penciling and sh~ding, editing, lettering, inking and
                coloring, all of which went into the origination and creation
                of the new material.       The f6llowing are the names of the.people
                who were involved in work.in~ for-the Goodmans during this period

                         Alfred Avison                      Harold Douglas
                         Otto Bender                        Na.ta.lie Eley
                         Michael Berman                      Roberto. Erisman
                         Carl B.lrgos                       William Everett
                         Martin Bursten                      Elsie Feldstain
                                              '   i




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                           Howard Ferguson                    Beatrice Levine
                           Sylvia. Fiegen                     Robert Levy
                           Elaine Goldsmi th    i
                                                I   I         Stan Lee
                           L. Gladston e                      Fernando Ma.rtiney
                           Abraham Goodman                    Edith- Marer
                           Arthur Goodman                     M. O'Bierne
                           David Goodman                      Elsie Richfiel d
                           Martin Goodman                     Edith Schwartzman
                           Paul Gustafso n                    Michael A. Sekowsky
                           Edward Herron                     · Sydney Shores
                           Hilda Jorgense n                   Joseph Simon
                           William King                       Robert Solomon
                           Jack Kirby                         Ethel Sundberg
                           George Klein                       Benjamin Thompson
                           Joseph A. Kugelma.ss               Frank. Torpie
                           Al .Lederman                       Arthur Weiss
              The places of work were the offices of the Goodmans a.t 330 West
              42nd Street and at'the then homes of the persons just named.
              If the names·o f other such .people ~e un~over ed, they will be
              supplied .

                           3.    [Struck out in its entirety by the Court.]

                           4.    [Struck out in its entirety by the Court.]

                           5.    The basis for the Goodmans' claim that II Cap ta.in
              America.", this being understo o~ to be the charact er as shown
              and so identifi ed in the aforesai d work, was created for and on
              their behalf or on behalf of their predece ssors is that it was
              created at the _suggest io? and upon the request of the Goodmans,
              that it was created to thair specific ations.a nd requirem ents




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               for a. "long underwear" or superhero type or character and so
               as to be suitable for their comic magazine titled and known as
               "Captain America. Comics", and more particularly, Volume 2,
               No. 1, thereof, that it was created under and subject to their
               general supervision and direction, and that the individuals
               who participated in the writing, layout, penciling and shaqing,
               editing, lettering, inking and cploring of all of the characters
               appearing in the "Captain America".comic strip episodes, includ-
               ing the character identified as 11 Captain ·America", were paid ·
               to do so by the Goodmans.

                         6.   [Struck out in its entirety by the Court.]

                         7.   The general facts upon which the Goodmans base
               their claim that the plaintiff was an employee of Marvel during.
               the period a.re that he worked-for them as a compiler and editor,
               and also for them as an illustrator and writer of new material
               and in various other capacities as he was assigned by them,
               that he worked under their general supervision and direction
               in the performance of· his duties, that he was accountable to
               them for his work, that he was provided.office facilities and
               supplies, and that he was paid by them for his work.     It is
               not presently known whether the employment was under an express
               oral or written contract or under an implied contract.      So far
              no copy of the contract has been found despite a search for it.
               The contract was between the Goodmans and Joseph H. Simon, and
               it provided that Simon.was to work for.the Goodmans as they re-
               quested,. fulfilling his obligations under their general super-
               vision and direction,' and that the Goodmans were to pay Simon
               a specified remuneration for his work.
                                             I




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                          8.   The precise dat~ upon which the plaintiff first
                commenced his employment with Marvel is not presently known,
                and unless information should be uncovered which indicates the
                contrary, the plaintiff's testimony to the effect that he first
                worked directly for Martin qoodman in 1938, although it is
                possible that it could have been 1937, is accepted.        The em-
                ployment agreement with Marvel required the plaintiff's serv-
                ices and the required services were exclusively for the Good~
                mans.    The agreement did not preclude other services for others.
                The plaintiff's services with respect to "Captain America." were
                exclusively f'of the Goodmans and he did other work for the
                Goodmans.

                          9.   [Struck out in its entirety by the Court.]

                         10.   '!be precise date upon which the pla.intif~ left
                the Goodmans is not known, but pending the discovery of'" addi-
                tional information, it is believed to be about the winter of'
                1941-1942, when it is believed that Simon resigned from the
                Good.mans• employment to work for Detective Comics, Inc., a
                competitor.

                         11.   This item requests particulars a.bout the basis
                upon which the Goodmans alleged that the plaintiff consented
                to Ma.rvel's obtaining copyrights with respect to the "Captain
                America. 11 material.   The def'~nda.nts have not so alleged.   As
                it happens, the plaintiff did consent to and acquiesce to
                Ma.rvel's obtaining the copyrights a.a is apparent from the
                fact that as an editor and in the performance of his duties
                for the Goodmans, pla.intitt·had full knowledge of the fact
                                            '   .      \   .
                that the "Captain America'~ n:i,ateria.J. was ceing published with




                                                               Marvel 001400




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                the Goodma.ns• claim of copyright and notice thereof and by the
                fact that having such knowledge the plaintiff continued to work
                for the Goodmans to help in•the origination and creation of
                new material to be published under the "Captain America." name
                .and copyrighted by the Goodmans as the authors and proprietors
                thereof, and also by the fa.ct of the plaintiff's acquiescence
                by silence in the copyrighting of lthis material by the Goodmans
                for more than a quarter of a. century.

                         12.    The manner by which Marvel and the Goodmans have
                openly, notoriously, and adversely to the alleged ownership.
                rights now asserted by the plaintiff asserted their own right,
                title, and interest in and to the "Captain America." material
                                                I
                is by the publication and l~'censing of this material, as set
                forth in the Schedules 1 supplied to. counsel for the plaintiff
                by letter of June 12, 1967, and by the advertising, promotion,
                and circulation of the material so published and licensed, and
                by the public solicitation of advertising from others to be
                placed in .their "Captain America" publication., and by their
                public offering of II Captain America. 11 material for sale and ·
              · _for license.,- these acts taking place in each and every year of
               . the alleged period.

                       13.      The acts alleged. in Paragraph 39th of the.defend-
                ants• 'Answer and Counterclaim were committed during the period
                from spring of 1965 to and including November 8, 1966.

                       14.      The substance. of.the statements which were made
                falsely by the plaintiff as alleged in Paragraph 39th of the
                                                I
               Answer and Counterclaim is that:




                                                                     Marvel 001401




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                               (a.)   He employed Jack Kirby to put the "Captain
                America" book together ( Captain America. Comics., Volume 2., .
                Nos. l-10)., that he paid Jack Kirby personally and that he
                had canceled checks to prove it.
                               (b)    The bound "Captain America." book which Jack
                Kirby a.hd given to his wife in. commemoration of his work
                during the time when they first met and which he had loaned to
                counsel for the defendants so that it could be used for
                reference at an examination of the plaintiff., was being messed
                up., and that the lawyers were writing notes and scribbling all
               ·o.ver the pages of the books and initialing the individual
                drawings., so much so that the book (which has a. considerable
                market., as well a.a sentimental., value) would be worthless.
                               (c)· Counsel for the defendants had offered the
                                                 I
                plaintiff $30.,000 to settle, the case and instructed the plain-
                tiff and his counsel not to tell Jack Kirby or any of the
                other artists of the Marvel Comics Group anything about the
                ·settlement., and to keep it secret from them.

                         15.   The method and substance by which the plaintiff
                has attempted to interfere with the relationship between the
                Goodmans and their employees is by trying to induce the em-
                ployees to leave the Goodma.ns and by misrepresentation of
                facts concerning the Goodmans to them.

                         16.• and 17.    The acts alleged in the Paragraph 4;9th
                of the Answer and Co~nterclaim by which plaintiff has attempted
                to interfere with the relationship between the Goodmans and
                their artists and employees were oral.        Joseph Simon and Jack
                Kirby, and also Harriet Simon and Rosalind Kirby,          were involved
                                             '   I




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                in the conversations which took place over the telephone during
                the period from spring 19651to November 8, 1966.       Joe Simon
                called frequently with repeated suggestions that Jack Kirby
                quit Marvel and accept a proposed employment or venture with
                .the p~aintiff or with persons on whose behalf he was acting.
                Joseph and Harriet Simon called on November 8, 1966, proposing
                another publishing venture with the plaintiff, and making the
                false statements as set forth in Paragraph 14, supra.

                         18.    The Goodmans and their predecessors used and
                advertised the name 11 Ca.pta.in America." at lea.st as early as
                December 18, 1940.

                         19. ·The Goodmans and their predecessors have used and
                advertised the name 11 ·captain America" and the character II Captain
                America. 11 to identit)' their comic material and as their trade-
                mark.    The first registration for the "Captain America. 11 trade-
                mark was issued by the United States Patent Office to Timely
               ·comics, Inc., on February 17, 1942.

                         20.    The acts which the defendants will, as presently
                advised, allege that the ·plaintiff committed in clouding the
                Goodmans• title to the "Captain America" trademark and copy-
               . right properties are the in~tia.tion of false statements,
                representatio ns and rumors to present and potential licensees,
                and initiating threats of ·lftiga.tion against such licensees,
               . both orally·and in writing.


                         Many of ·the demands for particulars about the defendants'
                defenses to the claims now fpr the first time being made by the




                                                                   Marvel 001403


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              the plaintiff relate to a period before World War II, more than
              twenty-five years ago.     Since no claim or protest was made by
              the plaintiff or anyone else with respect to this part of the
              Goodmans 1 ordinary business for more than a quarter of a century,
              it will be appreciated that many of the records that would have
              been available to the defendants had the plaintiff not delayed
              so long in making his ~laim are now apparently lost.     The
              foregoing particulars are given to the best of the defendants'
              present information and belief, and if the defendants uncover
              further such information and particulars, they will supplement
              the present Bill.


              New York, New York
              Dated: November 13, 1967



                                                         59 Maiden Lane
                                                         New York, New York    10038
                                                    Attorneys for Defendants


              TO:   FRIEND & REISIGND
                    375 Park Avenue
                    New York, New York
                    Attorneys for Plaintiff




                                                                   Marvel 001404



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                                         VERIFICATION


              STATE OF NEW YORK     )
                                        as.
              COUNTY OF NEW YORK    )


                         MARTIN GOODMAN, being first duly sworn, deposes and
              says that he is a defendant in the above-entitled action,
              that he has read the· foregoing Billot Particulars, and that
              to the best ot his present information, he believes it to
              be true.




                         Subscribed and sworn to before me. this                 /¥           day o~


     41,




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                                                                        No. 24-899(J900
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                                                         Cl!llniflcatA! filed In N- \'orlt County
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